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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                         )
    In re:                                               )   Chapter 11
                                                         )
    YELLOW CORPORATION, et al.,1                         )   Case No. 23-11069 (CTG)
                                                         )
                              Debtors.                   )   (Joint Administration Requested)
                                                         )
                                                         )   Related Docket Nos. 3, 4, 5, 6, 7, 9, 10, 11, 12, 13, 16,
                                                             19 and 20
                                                         )
                                                         )   Hearing Date: August 9, 2023, at 3:00 p.m. (ET)

                         NOTICE OF HEARING2 ON FIRST DAY MOTIONS

                   PLEASE TAKE NOTICE that on August 6, 2023 (the “Petition Date”), the

above-captioned debtors and debtors in possession (collectively, the “Debtors”) each filed a

voluntary petition for relief under chapter 11 of title 11 of the United States Code (the

“Bankruptcy Code”) with the Clerk of the United States Bankruptcy Court for the District of

Delaware. The Debtors are continuing to operate their businesses and manage their affairs as

debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

                   PLEASE TAKE FURTHER NOTICE that, together with their chapter 11

petitions, the Debtors also filed the following applications and motions set forth below

(collectively, the “First Day Motions”). The Debtors intend to seek approval of certain of the

First Day Motions at a hearing conducted via Zoom videoconference (the “First Day Hearing”)

before the Honorable Craig T. Goldblatt at the United States Bankruptcy Court for the District of



1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of Debtors’
      principal place of business and the Debtors’ service address in these chapter 11 cases is: 10990 Roe Avenue,
      Overland Park, Kansas 66211.
2
      Any party who wishes to attend the video conference is required to register at the following link:
      https://debuscourts.zoomgov.com/meeting/register/vJIsc-mhrzIjE-bzoH-5SpctbVpSxEZEe3s.



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Delaware (the “Court”), located at 824 North Market Street, 3rd Floor, Courtroom No. 7,

Wilmington, Delaware 19801, on August 9, 2023 at 3:00 p.m. (prevailing Eastern Time).

                                      Administrative Motions

1.      Motion of Debtors for Entry of an Order (I) Directing Joint Administration of Chapter 11
        Cases and (II) Granting Related Relief [Filed 8/7/2023, Docket No. 3]

2.      Application of Debtors for Entry of an Order (I) Authorizing and Approving the
        Appointment of Epiq Corporate Restructuring, LLC as Claims and Noticing Agent and (II)
        Granting Related Relief [Filed 8/7/2023, Docket No. 11]

3.      Motion of Debtors for Entry of Interim and Final Orders (I) Authorizing the Debtors to (A)
        File a Consolidated List of Creditors in Lieu of Submitting a Separate Mailing Matrix for
        Each Debtor, (B) File a Consolidated List of the Debtors’ Thirty Largest Unsecured
        Creditors, (C) Serve Certain Parties in Interest by Email, (D) Approve the Form and
        Manner of Service of the Notice of Commencement, and (E) Redact Certain Personally
        Identifiable Information of Natural Persons, (II) Waiving the Requirement to File A List
        of Equity Security Holders, and (III) Granting Related Relief [Filed 8/7/2023, Docket No.
        7]

4.      Motion of Debtors for Entry of an Order (I) Authorizing Yellow Corporation to Act as
        Foreign Representative Pursuant to 11 U.S.C. § 1505, and (II) Granting Related Relief
        [Filed 8/7/2023, Docket No. 9]

                                       DIP Financing Motion

5.      Motion of Debtors for Entry of Interim and Final Orders (I) Authorizing the Debtors to (A)
        Obtain Postpetition Financing and (B) Utilize Cash Collatearl, (II) Granting Liens and
        Superpriority Administrative Expense Claims, (III) Modifying the Automatic Stay, (IV)
        Authorizing the Debtors to Use UST Cash Collateral, (V) Granting Adequate Protection,
        (VI) Scheduling a Final Hearing, and (VII) Granting Related Relief [Filed 8/7/2023,
        Docket No. 16]

                             First Day Motions Pertaining to Operations

6.      Motion of Debtors for Entry of Interim and Final Orders (I) Authorizing the Debtors to (A)
        Continue to Operate Their Cash Management System, (B) Honor Certain Prepetition
        Obligations Relating Thereto, (C) Maintain Existing Business Forms, and (D) Perform
        Intercompany Transactions and (II) Granting Related Relief [Filed 8/7/2023, Docket No.
        10]

7.      Motion of Debtors for Entry of Interim and Final Orders (I) Authorizing the Debtors to (A)
        Pay Prepetition Wages, Salaries, Other Compensation, and Reimbursable Expenses and
        (B) Continue Employee Benefits Programs, and (II) Granting Related Relief [Filed
        8/7/2023, Docket No. 20]

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8.      Motion of Debtors for Entry of Interim and Final Orders (I) Authorizing the Payment of
        Certain Prepetition and Postpetition Taxes and Fees and (II) Granting Related Relief [Filed
        8/7/2023, Docket No. 5]

9.      Motion of Debtors for Entry of Interim and Final Orders (A)(I) Approving the Debtors’
        Proposed Adequate Assurance of Payment for Future Utility Services, (II) Prohibiting
        Utility Providers from Altering, Refusing, or Discontinuing Services, (III) Approving the
        Debtors’ Proposed Procedures for Resolving Adequate Assurance Requests, and (B)
        Granting Related Relief [Filed 8/7/2023, Docket No. 13]

10.     Motion of Debtors for Entry of Interim and Final Orders (I) Authorizing the Debtors to (A)
        Maintain Insurance Coverage Entered Into Prepetition and Pay Related Prepetition
        Obligations and (B) Renew, Supplement, Modify, or Purchase Insurance Coverage, (II)
        Approving Continuation of the Surety Bond Program, and (III) Granting Related Relief
        [Filed 8/7/2023, Docket No. 6]

11.     Motion of Debtors for Entry of Interim and Final Orders (I) Authorizing Debtors to Pay
        Prepetition Claims of Certain Critical Vendors, 503(b)(9) Claimants, Lien Claimants, and
        Foreign Vendors, (II) Confirming Administrative Expense Priority of Outstanding Orders,
        and (III) Granting Related Relief [Filed 8/7/2023, Docket No. 12]

12.     Motion of Debtors for Entry of Interim and Final Orders (I) Approving Notification and
        Hearing Procedures for Certain Transfers of Common Stock and (II) Granting Related
        Relief [Filed 8/7/2023, Docket No. 4]

13.     Motion of the Debtors for Entry of Interim and Final Orders (I) Authorizing the Debtors to
        Consent to Limited Relief from the Automatic Stay to Permit Setoff of Certain Customer
        Claims Against the Debtors, and (II) Granting Related Relief [Filed 8/7/2023, Docket No.
        19]

                 PLEASE TAKE FURTHER NOTICE that copies of the First Day Motions may

be obtained free of charge by visiting the website of Epiq Corporate Restructuring, LLC, at

https://dm.epiq11.com/YellowCorporation. Further information may be obtained by calling Epiq

Corporate Restructuring, LLC at: 1-503-461-4134 (U.S. and Canada) or 866-641-1076

(International) (toll free) or emailing YellowCorporationInfo@epiqglobal.com (please reference

“Yellow” in the subject line). You may also obtain copies of any pleadings by visiting the Court’s

website at http://www.deb.uscourts.gov in accordance with the procedures and fees set forth

therein.



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        PLEASE TAKE FURTHER NOTICE that any and all objections to the First Day

Motions may be made at the First Day Hearing.

Dated: August 7, 2023
Wilmington, Delaware

/s/ Laura Davis Jones
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Timothy P. Cairns (DE Bar No. 4228)             David Seligman, P.C. (pro hac vice pending)
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                                                Possession




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